Case 2:19-cv-02286-JWH-KS Document 932 Filed 11/02/22 Page 1of1 Page ID #:128517
NAME & ADDRESS:

 

FILED

CLERK. US. DISTRICT COURT

11/2/2022

CENTRAL DISTRICT OF CALIFORNIA
BY: eva CéDEPUTY

 

 

 

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

STRATEGIC PARTNERS, INC., CASE NUMBER:
CV19-02286-JWH(SKx)
PLAINTIEFF(S)
Vv.
RECEIPT FOR RELEASE OF EXHIBITS
FIGS, INC., et al. TO COUNSEL UPON
DEFENDANT(S) VERDICT / JUDGMENT AT TRIAL /
AFTER HEARING

 

Pursuant to stipulation of counsel in this action and/or by Order of this Court, all exhibits listed on the
joint exhibit list are hereby being returned to counsel for the respective party(ies) except the
following exhibit(s)

The undersigned counsel hereby declare that these exhibits shall be retained in counsel's custody in a secure
place; not be altered; and will not be destroyed until after the time for an appeal of the verdict or judgment
has expired or until such time as all pending appeal(s) have been completed and decision(s) rendered.
Counsel further agree that such exhibits shall be returned to this Court upon request by the Court and
within seventy-two (72) hours notice thereof.

U/2/22 Saya Wot |
Date Counsel for: OPlaintiff Defendant O

 

 

wiht (310) Sd2- 0923
Signature ephone Number

| (phe Ss Gules

 

Date Counsel for: Teintifi Cinefendant O

 

| C15) Gog - S347

Signatur Telephone Number

 

I hereby certify that the above-mentioned exhibits where returned to counsel as indicated above this date.

Clerk, U.S. District Court

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Date epdty Clerkerk

 

 

 

 

G-38 (08/16) | RECEIPT FOR RELEASE OF EXHIBITS TO COUNSEI. UPON VERDICT JUDGMENT AT TRIAL/ AFTER HEARING

 
